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12    Attorneys for Plaintiff
13
                                  UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15
     T.T., individually and on behalf of all others   Case No. 3:22-cv-03196-RFL
16
     similarly situated,
17                                                    STIPULATION OF DISMISSAL
            Plaintiff,
18                                                    Judge: Hon. Rita F. Lin
     v.
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20   SUPERCELL, INC. and SUPERCELL OY,

21          Defendants.

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     STIPULATION OF DISMISSAL
     CASE NO. 3:22-CV-03196-RFL
         Case 3:22-cv-03196-RFL Document 86 Filed 03/04/24 Page 2 of 3




 1          IT IS HEREBY STIPULATED AND AGREED between Plaintiff T.T. and Defendants
 2   Supercell, Inc. and Supercell Oy that all claims, by and between Plaintiff and Defendants are
 3   hereby dismissed with prejudice and without costs against any party pursuant to Rule
 4   41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.
 5
     Dated: March 1, 2024                 Respectfully submitted,
 6
                                           By: /s/ L. Timothy Fisher
 7                                                 L. Timothy Fisher
 8                                         BURSOR & FISHER, P.A.
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27                                         Attorneys for Defendants
28


     STIPULATION OF DISMISSAL                                                                        1
     CASE NO. 4:23-CV-04035-JSW
         Case 3:22-cv-03196-RFL Document 86 Filed 03/04/24 Page 3 of 3




 1                         ATTESTATION OF CONCURRENCE IN FILING
 2          Pursuant to N. D. Cal. L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this
 3   document has been obtained from counsel for Defendant.
 4                                                 /s/ L. Timothy Fisher
 5

 6

 7   Dated: March 4, 2024
 8                                                            SO ORDERED:
 9

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                                                           ______________________________
11                                                         The Honorable Rita F. Lin, U.S.D.J.
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     STIPULATION OF DISMISSAL                                                                               2
     CASE NO. 4:23-CV-04035-JSW
